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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
        CHAMBERS OF                                                          6500 CHERRYWOOD LANE
       PAUL W. GRIMM                                                       GREENBELT, MARYLAND 20770
UNITED STATES DISTRICT JUDGE                                                        (301) 344-0670
                                                                                  (301) 344-3910 FAX




                                     DISCOVERY ORDER

        Fed. R. Civ. P. 26(b)(1), 26(b)(2)(C), and 26(g)(1)(B)(iii) require that discovery in civil
cases be proportional to what is at issue in the case, and require the Court, upon motion or on its
own, to limit the frequency or extent of discovery otherwise allowed to ensure that discovery is
proportional. This Discovery Order is issued in furtherance of this obligation. Having reviewed
the pleadings and other relevant docket entries, the Court enters the following Discovery Order
that will govern discovery in this case, absent further order of the Court or stipulation by the
parties. This Discovery Order shall be read in conjunction with the Scheduling Order in this
case, which provides discovery deadlines, and will be implemented in compliance with the
Discovery Guidelines for the United States District Court for the District of Maryland (see
paragraph 3, below). With respect to the limitations imposed in paragraphs 6, 7, and 9 on
interrogatories, requests for production of documents, and fact depositions, counsel are
encouraged to confer and propose to the Court for approval any modifications that are
agreeable to all counsel.

1. Disclosure of Damage Claims and Relief Sought. By the date set in the Scheduling Order,
   any party asserting a claim against another party shall serve on that party and provide to the
   Court the information required by Fed. R. Civ. P. 26(a)(1)(A)(iii) regarding calculation of
   damages. The party also shall include a particularized statement regarding any non-monetary
   relief sought. Unless otherwise required by the Scheduling Order, the disclosures required
   by Fed. R. Civ. P. 26(a)(1)(A)(i), (ii), and (iv) need not be made.

2. Scope of Discovery – Proportionality. Pursuant to Fed. R. Civ. P. 26(b)(1) and
   26(g)(1)(B)(ii)–(iii), the discovery in this case shall be proportional to what is at issue in the
   case. While the monetary recovery a party seeks is relevant to determining proportionality,
   other factors also must be considered, including whether the litigation involves cases
   implicating “public policy spheres, such as employment practices, free speech, and other
   matters [that] may have importance far beyond the monetary amount involved.” Fed. R. Civ.
   P. 26(b) advisory committee’s note to 1983 amendment. If a party objects to providing
   requested discovery on the basis of a proportionality objection, it must state the basis of the
   objection with particularity.

3.    For cases involving claims of employment discrimination, the parties are encouraged to
     follow the Initial Discovery Protocols for Employment Cases Alleging Adverse Action,
     which I have attached to this Order.
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4. Cooperation During Discovery.

   As encouraged by Fed. R. Civ. P. 1, and Discovery Guideline 1 of the Discovery Guidelines
   for the United States District Court for the District of Maryland, D. Md. Loc. R. App. A (July
   1, 2011), http://www.mdd.uscourts.gov/localrules/LocalRules-Oct2012Supplement.pdf, the
   parties and counsel are expected to work cooperatively during all aspects of discovery to
   ensure that the costs of discovery are proportional to what is at issue in the case, as more
   fully explained in Mancia v. Mayflower Textile Services Co., 253 F.R.D. 354, 357–58 (D.
   Md. 2009). Whether a party or counsel has cooperated during discovery also may be
   relevant in determining whether the Court should impose sanctions in resolving discovery
   motions, if it determines that a party has acted in a manner that violates the Rules of Civil
   Procedure, Order of Court, Local Rule, or Discovery Guideline.

5. Discovery Motions Prohibited Without Pre-Motion Conference with the Court.
   a. In accordance with Fed. R. Civ. P. 16(b)(3)(B)(v), no discovery-related motion may be
      filed unless the moving party attempted in good faith, but without success, to resolve the
      dispute and has requested a pre-motion conference with the Court to discuss the dispute
      and to attempt to resolve it informally. If the Court does not grant the request for a
      conference, or if the conference fails to resolve the dispute, then upon approval of the
      Court, a motion may be filed.
   b. Unless otherwise permitted by the Court, discovery-related motions and responses thereto
      will be filed in letter format and may not exceed three, single-spaced pages, in twelve-
      point font. Replies will not be filed unless requested by the Court following review of
      the motion and response.

   c. Unresolved discovery disputes are to be raised as required by this paragraph before the
      end of discovery. Absent a showing of due diligence and exceptional circumstances,
      discovery disputes will not be heard after the discovery cutoff.

6. Interrogatories. Absent order of the Court upon a showing of good cause or stipulation by
   the parties, Rule 33 interrogatories shall be limited to fifteen (15) in number. Contention
   interrogatories (in which a party demands to know its adversary’s position with respect to
   claims or defenses asserted by an adversary) may be answered within fourteen (14) days of
   the discovery cutoff as provided in the Scheduling Order. All other interrogatories will be
   answered within thirty (30) days of service. Objections to interrogatories will be stated with
   particularity. Boilerplate objections (e.g., objections without a particularized basis, such as
   “overbroad, irrelevant, burdensome, not reasonably calculated to identify admissible
   evidence”), as well as incomplete or evasive answers, will be treated as a failure to answer
   pursuant to Fed. R. Civ. P. 37(a)(4). For that reason, boilerplate objections are prohibited.

7. Requests for Production of Documents.
   a. Absent order of the Court upon a showing of good cause or stipulation by the parties,
      Rule 34 requests for production shall be limited to fifteen (15) in number. A response to
      these requests shall be served within thirty (30) days and any documents shall be
      produced within thirty (30) days thereafter, absent Court order or stipulation by the
      parties. Any objections to Rule 34 requests shall be stated with particularity. Boilerplate

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       objections (see ¶ 5 above) and evasive or incomplete answers will be deemed to be a
       refusal to answer pursuant to Rule 37(a)(4). Pursuant to Fed. R. Civ. P. 34(b)(2)(C), “an
       objection must state whether any responsive materials are being withheld on the basis of
       that objection.”
   b. Requests for production of electronically-stored information (ESI) shall be governed as
      follows:
       i. Absent an order of the Court upon a showing of good cause or stipulation by the
          parties, a party from whom ESI has been requested shall not be required to search for
          responsive ESI:
           a. from more than ten (10) key custodians;
           b. that was created more than five (5) years before the filing of the lawsuit;
           c. from sources that are not reasonably accessible without undue burden or cost; or
           d. for more than 160 hours, inclusive of time spent identifying potentially responsive
              ESI, collecting that ESI, searching that ESI (whether using properly validated
              keywords, Boolean searches, computer-assisted or other search methodologies),
              and reviewing that ESI for responsiveness, confidentiality, and for privilege or
              work product protection. The producing party must be able to demonstrate that
              the search was effectively designed and efficiently conducted. A party from
              whom ESI has been requested must maintain detailed time records to demonstrate
              what was done and the time spent doing it, for review by an adversary and the
              Court, if requested.
       ii. Parties requesting ESI discovery and parties responding to such requests are expected
           to cooperate in the development of search methodology and criteria to achieve
           proportionality in ESI discovery, including appropriate use of computer-assisted
           search methodology, such as Technology Assisted Review, which employs advanced
           analytical software applications that can screen for relevant, privileged, or protected
           information in ways that are more accurate than manual review and involve far less
           expense.

8. Duty to Preserve Evidence, Including ESI, that is Relevant to the Issues that Have Been
   Raised by the Pleadings.
   a. The parties are under a common-law duty to preserve evidence relevant to the issues
      raised by the pleadings.
   b. In resolving any issue regarding whether a party has complied with its duty to preserve
      ESI, the Court will comply with Fed. R. Civ. P. 37(e).
9. Depositions. Absent further order of the Court upon a showing of good cause or stipulation
   by the parties, depositions of fact witnesses other than those deposed pursuant to Fed. R. Civ.
   P. 30(b)(6) shall not exceed four (4) hours. Rule 30(b)(6) and expert witness depositions
   shall not exceed seven (7) hours.

10. Non-Waiver of Attorney–Client Privilege or Work Product Protection. As part of their duty
    to cooperate during discovery, the parties are expected to discuss whether the costs and

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   burdens of discovery, especially discovery of ESI, may be reduced by entering into a non-
   waiver agreement pursuant to Fed. R. Evid. 502(e). The parties also should discuss whether
   to use computer-assisted search methodology to facilitate pre-production review of ESI to
   identify information that is beyond the scope of discovery because it is attorney–client
   privileged or work product protected.
       In accordance with Fed. R. Evid. 502(d), except when a party intentionally waives
   attorney–client privilege or work product protection by disclosing such information to an
   adverse party as provided in Fed. R. Evid. 502(a), the disclosure of attorney–client privileged
   or work product protected information pursuant to a non-waiver agreement entered into
   under Fed. R. Evid. 502(e) does not constitute a waiver in this proceeding, or in any other
   federal or state proceeding. Further, the provisions of Fed. R. Evid. 502(b)(2) are
   inapplicable to the production of ESI pursuant to an agreement entered into between the
   parties under Fed. R. Evid. 502(e). However, a party that produces attorney–client privileged
   or work product protected information to an adverse party under a Rule 502(e) agreement
   without intending to waive the privilege or protection must promptly notify the adversary
   that it did not intend a waiver by its disclosure. Any dispute regarding whether the disclosing
   party has asserted properly the attorney–client privilege or work product protection will be
   brought promptly to the Court, if the parties are not themselves able to resolve it.



Dated: October 25, 2021                                            /S/
                                                           Paul W. Grimm
                                                           United States District Judge




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